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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )                  8:11CR386
                        Plaintiff,               )
                                                 )
                   v.                            )
                                                 )         MEMORANDUM AND ORDER
IBRAHIM Z. MATARI and CRYSTAL L.                 )
FOSTER,                                          )
                                                 )
                        Defendant.               )
                                                 )


        This matter is before the court on the defendant Crystal Foster’s objection, Filing No.

39, to the magistrate judge’s order dated March 23, 2012, Filing No. 37. The magistrate

judge denied defendant Foster’s motion to sever, Filing No. 28. See Filing No. 37 at 4.

The motion for severance is joined by defendant Ibrahim Z. Matari. Filing No. 32. Foster

is charged with one count of conspiring to commit marriage fraud in violation of 8 U.S.C. §

1325(c) and one count of marriage fraud in violation of 18 U.S.C. § 371.

        Foster filed a motion to sever and alleged that a joint trial would prejudice defendant

and violate her Sixth Amendment right to confrontation. Defendants contend they will be

unfairly prejudiced because each have made statements implicating the other in the

charged offenses. Pursuant to 28 U.S.C. § 636(b)(1)(A), the court has conducted a de novo

determination of those portions of the magistrate judge’s order to which Foster objects.

United States v. Lothridge, 324 F.3d 599, 600-01 (8th Cir. 2003). The court finds the

magistrate judge is correct in his analysis of the facts and the law and will affirm the order

in its entirety.
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                                                  FACTS

        Foster and her co-defendant and defendant husband, Matari, obtained a marriage

license and were married in Douglas County, Nebraska, in August of 2009. Filing No. 35

at 1. On or about January 8, 2010, Immigration officials arrived at the residence of the

couple to investigate the petitions for citizenship filed for Matari. Foster and Matari were

interviewed separately by Immigration officials regarding their marriage. Id. Subsequently,

as a result of allegedly false inform ation provided in these interviews,1 Foster and Matari

were charged with one count of conspiracy to commit marriage fraud and one count of

marriage fraud. Id. Foster filed a m otion to sever the trial of her case from Matari’s trial

because the statements violate the defendant’s Sixth Amendment right to confront her

witnesses, and she believes she will be prejudiced by the admission of the co-defendant’s

statements without the opportunity to cross-examine him. Filing No. 28. The magistrate

judge denied the motion for severance. Filing No. 37.2

                                              DISCUSSION

         The joinder of offenses and defendants is governed by Rule 8 of the Federal Rules

of Criminal Procedure. Specifically, Rule 8(b) provides:

        Joinder of Defendants. The indictment or information may charge 2 or more
        defendants if they are alleged to have participated in the same act or
        transaction, or, in the same series of acts or transactions, constituting an



        1
         Exam ples of the testim ony from the interviews includes: Matari being unable to tell them where he
m et Foster; Matari claim ing they shared a bedroom although the interviewers saw only fem ale clothes in their
bedroom and a guest room contained two m attresses that appeared to have recently been stacked on top of
one another and m en’s clothing; Matari claim ing to have m et Foster’s parents and son although he did not
know any of their nam es nor could he describe them . Filing No. 35.

        2
        Foster also filed a m otion to change nam e of the defendant, Filing No. 30, which was also denied;
however, she has not objected to the m agistrate judge’s denial of this m otion.

                                                      2
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       offense or offenses. The defendants may be charged in one or more counts
       together or separately. All defendants need not be charged in each count.

Fed. R. Crim. P. 8. Rule 14(a) of the Federal Rules of Criminal Procedure states that “if

the joinder of offenses or defendants in an indictment, an information, or a consolidation

for trial appears to prejudice a defendant or the government, the court may order separate

trials of counts, sever the defendants’ trials or provide any other relief that justice requires.”

Fed. R. Crim. P. 14(a).

       Foster argues that the Supreme Court found that admitting the statements of a non-

testifying defendant that incriminates the co-defendant would violate the confrontation

rights of the co-defendant. Bruton v. United States, 391 U.S. 123 (1968). Additionally,

Foster contended that this case requires severance of their trials because the statements

made to Immigration officials by Matari were testimonial in nature. See Crawford v.

Washington, 541 U.S. 36 (2004) (testimonial statements made out of court by persons who

do not appear at trial are barred under the confrontation clause).

       The court agrees with the magistrate judge’s conclusion for the reasons stated in

his opinion. The magistrate judge correctly held that persons charged with a conspiracy

should be tried together and that Fed. R. Evid. 801(d)(2)(E) allows the admittance of

hearsay statements that are made in furtherance of a conspiracy. United States v. Lewis,

557 F.3d 601, 609 (8th Cir. 2009) (courts favor joint trials of coconspirators absent

demonstrated prejudice). “A joint trial is appropriate for those charged with conspiracy

where proof of the charges is based on common evidence and acts.” United States v.

Dierling, 131 F.3d 722, 734 (8th Cir. 1997). In the present case, Foster and Matari are

charged as coconspirators to marriage fraud, and the statements were made in furtherance


                                                3
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of a conspiracy. Crawford does not apply to coconspirator hearsay statements. See also

United States v. Lee, 374 F.3d 637 (8th Cir. 2004) (the Eighth Circuit stated: “[A]

statement is not hearsay and is admissible as a statement made to a coconspirator if it

advances the objectives of the conspiracy and does not merely inform the listener of the

declarant’s activities.”). Id. at 644. Accordingly, the court finds that the motion is denied

on the grounds that these are coconspirator statements and are not hearsay and do not

violate the Confrontation Clause and, further, Bruton or Crawford are not applicable.

        THEREFORE, IT IS ORDERED:

        1. The defendant’s objection (Filing No. 39) to the order of the magistrate judge is

overruled.

        2. The order of the magistrate judge (Filing No. 37) is affirmed in accordance with

this Memorandum and Order.

        3. The defendants’ motions to sever (Filing Nos. 28 and 32) are denied.

        DATED this 23rd day of April, 2012.

                                                    BY THE COURT:



                                                    s/ Joseph F. Bataillon
                                                    Chief United States District Judge




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